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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION



RODNEY ELLIS,

                Plaintiff,                                      Hon. Ellen S. Carmody

v.                                                              Case No. 1:07-CV-910

MARILYN KAYE-KIBBEY,

            Defendant.
______________________________________/


                                                OPINION

                This matter is before the Court on Defendant’s Motion for Summary Judgment for Lack

of Damages. (Dkt. #127). On December 22, 2008, the parties consented to proceed in this Court for

all further proceedings, including trial and an order of final judgment. 28 U.S.C. § 636(c)(1). By Order

of Reference, the Honorable Paul. L. Maloney referred this case to the undersigned. (Dkt. #51). For

the reasons articulated below, Defendant’s motion is granted in part and denied in part.



                                            BACKGROUND

                The following allegations are contained in Plaintiff’s Second Amended Complaint. (Dkt.

#39). On August 27, 2003, Plaintiff and Defendant executed a Release Agreement (the “Release

Agreement”), pursuant to which Defendant agreed to not “initiate or join in negative or critical

comments, discussions or other communications about, or otherwise disparage [Plaintiff or his business],

their affiliates, or their services, employees, clients, agents, attorneys, accountants, banks, or any other

person associated with [Plaintiff or his business].”
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                  Defendant, in violation of the Release Agreement, made, on multiple occasions,

statements disparaging Plaintiff. One such instance concerned an affidavit Defendant executed on April

7, 2004. On April 13, 2004, Lincoln National Life Insurance Co. and Lincoln Financial Advisors Corp.

(“Lincoln”) initiated legal action against Plaintiff. Lincoln initiated this action, at least in part, based

on the assertions Defendant made in her affidavit. This action was later stayed so that the parties could

pursue arbitration. Plaintiff subsequently initiated an arbitration action against Lincoln. Soon thereafter,

Lincoln reciprocated by initiating an arbitration action against Plaintiff. In both of these proceedings,

Lincoln relied on the assertions contained in Defendant’s affidavit. These two proceedings were later

consolidated. Defendant eventually testified as part of the arbitration proceeding, offering testimony

consistent with the allegations articulated in her affidavit. Id.

                  The arbitration panel ordered Lincoln to pay to Plaintiff $500,0001 in compensatory

damages and $130,000 in attorney fees. (Dkt. #128, Exhibit 15). Plaintiff initiated the present action

on September 13, 2007, seeking to recover certain costs and expenses he allegedly incurred in the

aforementioned litigation and arbitration proceedings. On July 8, 2008, Plaintiff filed his Second

Amended Complaint, in which he asserts a single breach of contract claim. (Dkt. #39). Defendant later

moved to dismiss Plaintiff’s Second Amended Complaint. (Dkt. #40). Defendant argued that (1) the

Release Agreement was no longer in effect when she made the allegedly disparaging comments, and

(2) even if the Release Agreement was in effect, she cannot be held liable for her allegedly disparaging

comments because she made them as a third-party witness in a legal proceeding.

                  On October 19, 2008, the Honorable Paul L. Maloney issued an Opinion and Order

granting in part and denying in part Defendant’s motion. (Dkt. #45). In relevant part, Judge Maloney

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                      This amount was reduced by $127,000 for Plaintiff’s willful violation of a court-issued temporary
restraining order, as discussed below.

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ruled that whether the Release Agreement was in effect when Defendant made her allegedly disparaging

remarks was a question of fact. Judge Maloney further held that “the Michigan common law accords

absolute quasi-judicial immunity to some - but not all - of [Defendant’s] communications.” Defendant

now moves for summary judgment on the ground that Plaintiff cannot establish that he has suffered any

compensable damages in this matter. Plaintiff is seeking damages which fall into three separate

categories, each of which is examined separately below.



                                             ANALYSIS

I.             Penalty for Violation of Temporary Restraining Order

               As noted above, Lincoln initiated legal action against Plaintiff on April 13, 2004. Two

days later, Lincoln obtained a Temporary Restraining Order (TRO) which, in part, ordered Plaintiff to

not destroy certain computer files. Plaintiff violated the TRO, however, by deleting certain computer

files. As a result, the arbitration panel awarded Lincoln $127,000 in costs incurred as a result of

Plaintiff’s violation of the TRO. Plaintiff, in the present action, seeks to recover from Defendant the

$127,000 he was ordered to pay to Lincoln for violating the TRO. Defendant opposes such on the

ground that the alleged breach of the Release Agreement was not the proximate cause of these alleged

damages. Before examining the substance of this particular issue, the Court must first determine the

body of law applicable in this matter.

               The Court has jurisdiction over the subject matter of the present dispute pursuant to

diversity jurisdiction. See 28 U.S.C. § 1332. When presiding over a diversity action, federal courts

must apply the substantive law of the state in which the court sits, including that state’s choice of law

rules. See Mill’s Pride, Inc. v. Continental Ins. Co., 300 F.3d 701, 704 (6th Cir. 2002).


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               In Chrysler v. Skyline Industrial Services, Inc., 528 N.W.2d 698 (Mich. 1995), the

Michigan Supreme Court addressed the issue of the choice of law rules applicable in contract disputes.

While recognizing that the “predominant view in Michigan has been that a contract is to be construed

according to the law of the place where the contract was entered into,” the court noted that such a “rigid”

approach was not always appropriate. Id. at 702-03. In this respect, the court indicated that sections

187 and 188 of the Second Restatement of Conflict of Laws, with its “emphasis on examining the

relevant contacts and policies of the interested states, provide a sound basis for moving beyond

formalism to an approach more in line with modern-day contracting realities.” Id. at 703.

               Accordingly, in the context of a contract dispute, Michigan choice of law rules require

courts to examine the factors articulated in sections 187 and 188 the Second Restatement (and employed

by the Chrysler court) so as to balance “the expectations of the parties to a contract with the interests

of the states involved.” Mill’s Pride, 300 F.3d at 705 (recognizing that the Chrysler decision is the

controlling authority in Michigan on choice of law issues involving contract disputes); see also, Mitchell

v. Travelers Property Casualty, 2002 WL 31953815 at *1-2 (Mich. Ct. App., Dec. 13, 2002) (same).

The contract at issue in this case provides that it “shall be construed under the laws of the State of

Michigan.” (Dkt. #128, Exhibit 15). Pursuant to Section 187 of the Second Restatement of Conflict of

Laws, this choice of law provision is to be given effect. Accordingly, the Court will apply Michigan

law in this matter.

               Under Michigan law, “the damages recoverable for breach of contract are those that arise

naturally from the breach or those that were in contemplation of the parties at the time the contract was

made.” Kewin v. Massachusetts Mutual Life Ins. Co., 295 N.W.2d 50, 52-53 (Mich. 1980); see also,

Sullivan Industries, Inc. v. Double Seal Glass Co., Inc., 480 N.W.2d 623, 630-31 (Mich. Ct. App. 1991)


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(non-breaching party may recover only those damages “which were a proximate result of the breach,

and which were reasonably foreseeable by the breaching party at the time of contracting”).

               Defendant argues that the alleged breach of the Release Agreement was not the proximate

cause of the sanction imposed on Plaintiff for his violation of the TRO. Plaintiff counters that “[i]t is

undisputed that Kaye-Kibbey’s disparagement of Ellis. . .was the initial cause of the series of events.

. .that led to Ellis violating the TRO and being sanctioned for it.” As stated at the November 13, 2009

hearing on this matter, the Court finds that it was not reasonably foreseeable, when the parties executed

the Release Agreement, that a breach thereof by Defendant would cause Plaintiff to willfully disregard

a court-issued temporary restraining order. Accordingly, the Court grants Defendant’s motion for

summary judgment as to this particular issue.



II.            Attorney Fees

               As discussed above, Plaintiff initiated an arbitration action against Lincoln which was

later consolidated with the arbitration action Lincoln initiated against Plaintiff. With respect to

Plaintiff’s claims against Lincoln, the arbitration panel awarded Plaintiff $500,000 in compensatory

damages and $130,000 in attorneys’ fees. Plaintiff now seeks to recover various amounts in attorney

fees allegedly incurred in the course of this arbitration proceeding. Defendant moves for summary

judgment on the ground that such amounts are not recoverable.




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               A.       Fossi & Jewell

               Fossi & Jewell, pursuant to a contingent fee arrangement, represented Plaintiff before

the arbitration board. As a result of this arrangement, and the amount Plaintiff was awarded in the

arbitration proceeding, Plaintiff paid Fossi & Jewell $203,951. Plaintiff now seeks to recover from

Defendant $73,951 ($203,951 minus the $130,000 awarded by the arbitration panel) in attorney fees that

he paid to Fossi & Jewell.

               Defendant asserts that Plaintiff cannot recover these fees because they were not incurred

as a result of the alleged breach of the Release Agreement. Defendant argues that these fees were

incurred because Plaintiff prevailed in an action/claim that he asserted against Lincoln, not as a result

of Defendant’s or Lincoln’s actions. Plaintiff disagrees, arguing that had Defendant not breached the

Release Agreement, Lincoln would never had sued Plaintiff and had Lincoln never sued Plaintiff,

Plaintiff would never have initiated an arbitration action against Lincoln. Plaintiff also argues that while

Fossi & Jewell’s fees were paid from Plaintiff’s recovery from Lincoln, their fee also encompassed

payment for defending Plaintiff against Lincoln’s arbitration action. However, as Defendant asserts,

Lawrence Fossi testified that if Plaintiff had recovered nothing in the arbitration proceeding, his fee

would have been zero. (Dkt. #128, Exhibit 17 at 87-88).

               The Court hereby grants Defendant’s motion for summary judgment as to these alleged

damages. The connection between Defendant’s alleged breach of the Release Agreement and the

attorney fees incurred by Plaintiff as a result of claims he pursued against Lincoln is simply too tenuous.

To put it simply, it was not reasonably foreseeable, when the parties executed the Release Agreement,

that a breach thereof by Defendant would cause Plaintiff to initiate legal proceedings against Lincoln.

The Court understands Plaintiff’s argument that he was “compelled” to pursue legal action against


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Lincoln because Lincoln unnecessarily delayed in advancing its own arbitration claim against Plaintiff.

Assuming this is the case, such suggests that actions by Lincoln - not Defendant - are the proximate

cause of the damages in question. The arbitration panel, however, already awarded Plaintiff attorney

fees concerning his action against Lincoln. Accordingly, the Court grants Defendant’s motion for

summary judgment as to this particular issue.



                  B.        Warner, Norcross & Judd and Raymond James

                  Warner, Norcross & Judd (“Warner”) represented Plaintiff in the federal court action

initiated by Lincoln. Warner also assisted Plaintiff in his effort to restore his various licenses that had

been suspended following the allegations of wrongdoing advanced by Defendant. Raymond James, who

during the pendency of the federal action and arbitration proceedings, employed Plaintiff, appears to

have deployed its in-house counsel to assist Plaintiff in the aforementioned proceedings. Plaintiff seeks

to recover $54,640 for fees paid to Warner.2 It appears that Plaintiff is seeking to recover $2,733 in fees

for services performed by Raymond James’ in-house counsel. (Dkt. #128, Exhibit 19).

                  Defendant argues that Plaintiff lacks standing to recover these fees. Defendant asserts

that Warner and Raymond James billed for their services by the hour and that such were paid for by a

business entity owned by Plaintiff, Benefit Resource, not Plaintiff. Defendant asserts, therefore, that

because Plaintiff did not pay these fees himself he lacks standing to assert a claim which properly

belongs to Benefit Resource. Plaintiff responds that Benefit Resource is a subchapter S corporation.

Plaintiff asserts that he has been President of this entity since 1997 and its sole shareholder since

January 1, 2005. Plaintiff asserts that the income to Benefit Resource “flows through to [him] for tax

                  2
                    Plaintiff asserts that he actually paid Warner $84,460 in fees, but is only seeking to recover $54,460
because he was allegedly awarded $30,000 towards these fees by the arbitration panel.

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purposes” and that “Benefit Resource and Ellis are, for all intents and purposes, one and the same.”

Thus, Plaintiff asserts that he has standing to recover fees paid to Warner and Raymond James by

Benefit Resource. For the reasons discussed at hearing, the Court finds that legitimate factual questions

remain as to whether Plaintiff incurred the costs in question. Accordingly, Defendant’s motion for

summary judgment is denied as to these issues.



III.           Other Alleged Damages

               The Court notes note that in addition to the various fees discussed above, Plaintiff also

seeks to recover various amounts in actual out-of-pocket expenses, as detailed in his supplemented

initial disclosures. (Dkt. #128, Exhibit 19). Defendant does not appear to be seeking summary

judgment or other relief as to these particular items. The Court, therefore, offers no opinion as to such.



                                            CONCLUSION

               For the reasons articulated herein, Defendant’s Motion for Summary Judgment for Lack

of Damages, (dkt. #127), is hereby granted in part and denied in part as detailed herein. An Order

consistent with this Opinion will enter.



Date: November 24, 2009                                  /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         United States Magistrate Judge




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